Case 2:22-cv-00077-GGG-KWR Document 1-1

©). CT Corporation

Filed 01/13/22 Page 1 of 23

Service of Process
Transmittal
12/15/2021

CT Log Number 540746674

To: Melanie Johnson, Senior Paralegal

BP America Inc.

501 WESTLAKE PARK BLVD
HOUSTON, TX 77079-2604

RE: Process Served in Louisiana

FOR: BP America Production Company (Domestic State: DE)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:
DOCUMENT(S) SERVED:

COURT/AGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:

DATE AND HOUR OF SERVICE:
JURISDICTION SERVED :
APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

REGISTERED AGENT ADDRESS:

Re: WILLIAM HERRIN // To: BP America Production Company
Citation, Petition, Request, Order, Interrogatories

32nd Judicial District Court Parish of Terrebonne, LA
Case # 0192366

Employee Litigation - Personal Injury - 05/26/2021
C T Corporation System, Baton Rouge, LA

By Process Server on 12/15/2021 at 08:55
Louisiana

Within 15 days after the service hereof

TIMOTHY J. YOUNG

THE YOUNG FIRM

400 Poydras Street, Suite 2090

New Orleans, LA 70130

CT has retained the current log, Retain Date: 12/15/2021, Expected Purge Date:
12/20/2021

Image SOP

Email Notification, LaTrisha Charles latrisha.charles@bp.com
Email Notification, Malika Herring malika.herring@bp.com
Email Notification, Melanie Johnson melanie. johnson@bp.com
C T Corporation System

3867 Plaza Tower Dr.
Baton Rouge, LA 70816

877-564-7529
MajorAccountTeam2@wolterskluwer.com

The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other

Page 1 of 2/ RG

 

EXHIBIT

A

 

 

 
Case 2:22-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 2 of 23

- CT Corporation Service of Process
ransmitta
12/15/2021

CT Log Number 540746674
To: Melanie Johnson, Senior Paralegal
BP America Inc.
501 WESTLAKE PARK BLVD
HOUSTON, TX 77079-2604

RE: Process Served in Louisiana

FOR: BP America Production Company (Domestic State: DE)

advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.

Page 2 of 2/ RG
 

 

Cas’ 2722-CV-0U077-GEG-RWR™ DOCUMENT T-T FEM OT/T3siZZ2° Page S OT Z3
CITATION

 

WILLIAM HERRIN Case: 0192366

 

Division: A

Versus
32"4 Judicial District Court
Parish of Terrebonne

TRI STATE ENVIRONMENTAL LLC, ET AL State of Louisiana

 

A Resident of EAST BATON ROUGE Parish

TO: BP AMERICA PRODUCTION CO
THROUGH REGISTERED AGENT,
CT CORPORATION SYSTEM, FOR SERVICE OF PROCESS:
3867 PLAZA TOWER DRIVE :
BATON ROUGE, LA 70816

YOU ARE HEREBY SUMMONED to comply with the demand of the Original Petition, Plaintiff's First Set of
Interrogatories and Request for Production of Documents Directed to Defendant BP America Production Co. , filed on November
18, 2021, a true and faithful copy whereof accompanies this citation, or to make an appearance by filing an answer or other pleading

thereto, in writing with the Clerk of Court at her office in the City of Houma, within fifteen (15) days after the service hereof:
Your failure to so comply will subject you to the penalty of having a default judgment rendered against you.

Witess my hand and official seal this 6th day of December, 2021.

Theresa A. Robichaux, Clerk of Court
oy _MWwinnw dine
Deputy Clerk of Court

Requested By: Ms Megan C Misko
Attorney at Law
400 Poydras St, Suite 2090
New Orleans, LA 70130
(504) 680-4100

Returned and filed:

Deputy Clerk of Court

[SERVICE]

 

 
 Gase 2322-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 4 of 23

32‘? JUDICIAL DISTRICT COURT FOR THE PARISH OF TERREBONNE

STATE OF LOUISIANA

no: 1923by | ‘DIVISION:
WILLIAM HERRIN .
versus

TRI-STATE ENVIRONMENTAL, L.L.C., SEADRILL AMERICAS, INC.,
and BP AMERICA PRODUCTION CoO.

FILED:

 

 

DEPUTY CLERK
PETITION FOR DAMAGES WITH TRIAL BY JURY

NOW INTO COURT comes Plaintiff, WILLIAM HERRIN, a person of the full age of
' majority and resident of Terrebonne Parish, who files this Petition for Damages against
’ Defendants, TRI-STATE ENVIRONMENTAL, L.L.C., SEADRILL AMERICAS, INC.,

and BP AMERICA PRODUCTION CO., for the reasons stated herein:

L

Defendant, TRLSTATE ENVIRONMENTAL, L.L.C., is a foreign limited liability
company registered to do business in this State and within the jurisdiction of this honorable

*

Court, and is indebted unto Plaintiff for all damages to which he is entitled to receive a prayed
for herein, together with legal interest thereon from the date of judicial demand until paid and for
all costs of these proceedings for the following, non-exclusive, acts of negligence, as set forth.
more specifically below.

| II.

Defendant, SEADRILL AMERICAS, INC;"is ‘a foreign’ corporation registered to do
business in the state of Louisiana’ and within the jurisdiction of this honorable Court, and is
indebted unto Plaintiff for all damages to which he is entitled to receive a prayed for herein,
together with legal interest thereon from the date of judicial demand until paid and for all costs
-of these proceedings for the following, non-exclusive, acts of negligence, as set forth more
specifically below.

JIL.

Defendant, BP AMERICA PRODUCTION CO., is a foreign corporation registered to

do business in this State and within the jurisdiction of this honorable Court, and is indebted unto

TIMOTHY (. ELLENDER, JR.
JUDGE - DIVISION A
 

 

Case 222-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 5 of 23

Plaintiff for all damages to which he is entitled to receive a prayed for herein, together with legal
interest thereon from the date of judicial demand until paid and for all costs of these proceedings
for the following, non-exclusive, acts of negligence, as set forth more specifically below.

Iv.

On or about May 26, 2021, Plaintiff was working aboard the WEST VELA, a drillship
owned and/or operated by SEADRILL AMERICAS, INC. at all pertinent times hereto, which
was a vessel in navigation.

V.
“On or about May 26, 2021, Plaintiff was employed by TRI-STATE
ENVIRONMENTAL, L.L.C. as a Jones Act Seaman aboard the WEST VELA.
VI.
Upon information and belief, on or about May 26, 2021, BP AMERICA

PRODUCTION CO. was providing drilling and/or contracting services on the WEST VELA.

VIL.

On May 26, 2021, while Plaintiff was on the WEST VELA, Plaintiff was tasked with

moving heavy equipment and pumps without assistance, injuring his back.
VU.

In connection with this incident, Plaintiff sustained serious injuries to lower back, which
has already required at least one surgery, and may require additional treatment, and other injuries
to his body.

VIX.

At all relevant times, Plaintiff, WILLIAM HERRIN, was performing his job in a safe
and non-negligent manner, and did not cause or contribute to this incident in any fashion.

On information and belief, Plaintiff alleges that the sole and proximate causé of the
above-described accident was the negligence of TRI-STATE ENVIRONMENTAL, L.L.C.,
SEADRILL AMERICAS, INC., and BP AMERICA PRODUCTION CO. in the following,
non-exclusive respects:

1. Breach of a legally imposed duty of reasonable care owed by
Defendants to Plaintiff;

2. Failure to provide a reasonably safe place to work;

 

 
 

 

* Case 2:22-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 6 of 23

3. Failure to properly supervise Plaintiff or any of their respective
employees;
4. Failure to take any means or precautions for the safety of

Defendants’ employees, as well as Plaintiff;

5. Creation and maintenance of an unseaworthy vessel;

6. Failure to provide minimum safety requirements;

7. Failure to provide adequate equipment for the job in question;

8. Failure to provide adequate personnel for the job in question;

9. Other acts of negligence and unseaworthiness which will be shown

at the trial of this matter.
XI.

As a direct result of the negligence of Defendants and the unseaworthiness of the vessel,
Plaintiff, WILLIAM HERRIN, is entitled to recover from Defendants reasonable and just
compensatory, special and general damages as prayed for herein and to be awarded by this
Honorable Court in the following non-exclusive respects:

1, Past, present, and future physical, mental and emotional pain and suffering;

2. Past, present, and future loss of wages, fringe benefits and wage earning capacity;

3. Past and future physical disability;

4, Past, present, and future medical expenses; and
5. All other special and general damages as will be shown at the trial of this matter.
XII.

Pursuant to the General Maritime Law of the United States of America, TRI-STATE
ENVIRONMENTAL, L.L.C. has and continues to have the absolute and nondelegable duty to
provide Plaintiff with maintenance and cure benefits from-the date that he was rendered unfit for
| duty until maximum cure is achieved.

XU. .
As.a result of the aforementioned accident, Plaintiff was rendered unfit for duty and

presently remains unfit and incapable of returning to duty as a seaman.

 

 
 

7 Case 2:22-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 7 of 23

XIV.

Therefore, Plaintiff prays for the payment of past, present, and future adequate
maintenance benefits as well as past, present, and future payment of any and all cure benefits to
which Plaintiff is entitled. Should Defendant, TRI-STATE ENVIRONMENTAL, L.L.C., fail
to honor its maintenance and cure obligations, Plaintiff is entitled to attorney’s fees, ‘punitive
damages, and an additional compensatory award for any acts of negligence on the part of said
Defendant which may have resulted in a deterioration of Plaintiff's medical condition.

XV.

Plaintiff specifically alleges a claim for punitive damages against Defendants herein
based upon General Maritime Law. This claim relates not.only to any arbitrary and/or
unreasonable failure of Defendant TRI-STATE ENVIRONMENTAL, L.L.C. to pay
maintenance and cure benefits, but also for any gross negligence of any defendant, or
unseaworthiness of the vessel as may be allowed under General Maritime Law.

. XVI.

Plaintiff prays for a trial by jury on all issues raised herein.

WHEREFORE,,. Plaintiff prays that TRI-STATE ENVIRONMENTAL, LLC;
SEADRILL AMERICAS, INC., and BP AMERICA PRODUCTION CO. be duly cited to
appear and answer this Complaint and, ‘after the legai delays and due proceedings had, there be
Judgment herein in favor of Plaintiff, WILLIAM HERRIN and against Defendants, TRI-
STATE ENVIRONMENTAL, L.L.C., SEADRILL AMERICAS, INC., and BP AMERICA
PRODUCTION CO. for all damages to which Plaintiff is entitled to recover for the reasons set
forth herein, together with legal interest thereon from date of judicial demand until paid, for
payment of all costs, including expert fees, and for all other general and equitable relief.

| FURTHERMORE, Plaintiff prays that Defendant, TRI-STATE ENVIRONMENT AL,
L.L.C., be cast in judgment for past, present, and future adequate maintenance benefits, as well
as past, present, and future payment of any and all cure benefits to which Plaintiff is entitled by

law, and penalties and additional damages if applicable.

 
‘ Case 2:22-cv-00077-GGG-KWR_ Document 1-1 Filed 01/13/22 Page 8 of 23

Respectfully Submitted,

 
   

- TIMOTHY. YOUNG (22677)
TAMMY D. HARRIS (29896)
MEGAN C. MISKO (29803)
JOSEPH B. MARINO, IIT (29966)
THE YOUNG FIRM
400 Poydras Street, Suite 2090

New Orleans, LA 70130

Telephone: (504) 680-4100

Facsimile: (504) 680-4101

PLEASE SERVE

TRI-STATE ENVIRONMENTAL, L‘L.C.
’ Through Registered Agent

Scott Robichaux

2737 Highway 308

Raceland, LA 70394

SEADRILL AMERICAS, INC.
Through Registered Agent

CT Corporation System .

3867 Plaza Tower Drive

Baton Rouge, LA 70816

BP AMERICA PRODUCTION CO.
Through Registered Agent .

CT Corporation System

3867 Plaza Tower Drive

Baton Rouge, LA 70816

FILED

NOV 18 anv)
/s/ Candace S. Porche
OEPUTY CLEAR OFG
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Deputy Clerk of Court
 

- Case 2:22-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 9 of 23

328? JUDICIAL DISTRICT COURT FOR THE PARISH OF TERREBONNE

STATE OF LOUISIANA

no: (92360 | DIVISION: —__

WILLIAM HERRIN
versus

TRI-STATE ENVIRONMENTAL, L.L.C., SEADRILL AMERICAS, INC.,
and BP AMERICA PRODUCTION Co.

FILED:

 

 

DEPUTY CLERK

REQUEST FOR NOTICE
PLEASE TAKE NOTICE that the undersigned counsel, attorney for plaintiff

WILLIAM HERRIN, do hereby request written notice of hearings (whether the merits
or otherwise), orders, judgments, and interlocutory decrees, and any and all formal steps
_ taken by the parties herein, the Judge or any member of the Court, as provided in the
Louisiana Code of Civil Procedure, Article 1960, particularly, Articles 1572, 1913, and
1914.

Respectfully Submitted,

Le OUNG (22677)

TAMMY D. HARRIS (29896)
MEGAN C. MISKO (29803)
JOSEPH B. MARINO, ITI (29966)
THE YOUNG FIRM

400 Poydras Street, Suite 2090
New Orleans, LA 70130
Telephone: (504) 680-4100
Facsimile: (504) 680-4101

Noy 18 2021
/s/ Candace 8, Porche

DEPUT ¥ CLERK OF COuRT
PARISH OF TERREBONNE LA

 

 
- Case 2:22-cv-00Q77-GGG-KWR Document 1-1 Filed 01/13/22 Page 10 of 23

c | | 2

32% JUDICIAL DISTRICT COURT FOR THE PARISH OF TERREBONNE
STATE OF LOUISIANA
no: 194346 DIVISION: ___
WILLIAM HERRIN
versus

TRI-STATE ENVIRONMENTAL, L.L.C., SEADRILL AMERICAS, INC.,
and BP AMERICA PRODUCTION CO.

FILED:

 

 

DEPUTY CLERK
CIVIL JURY TRIAL ORDER
Let the foregoing cause -be tried by jury upon plaintiff, WILLIAM HERRIN,
giving bond with good and solvent surety in the amount of $ 3.000 within (60) days
of trial date in this matter. .

Houmt
New-Qeleans, Louisiana this 24 day otNovember , Joa.

 

 

JUDGE
RECEIVED FROM JUDGE DER, JR.
aa TIMOTHY C. ELLENDER,
NGv 3Q 2021 JUDGE - Division "A"

3299 Judicial District Court

Deputy Clerk of Court

ORDER UNSIGNED
FILED
NOV 18 2021

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DEPUTY CLERK OF COURT
PARISH OF TERREBONNE, LA

SCANNED
NOV 22 2021
 

 

Case 2:22-cv-00077-GGG-KWR_ Document 1-1 Filed 01/13/22 Page 11 of 23

328? JUDICIAL DISTRICT COURT FOR THE PARISH OF TERREBONNE

STATE OF LOUISIANA

no: /22304 | DIVISION: ___

WILLIAM HERRIN
versus

TRI-STATE ENVIRONMENTAL, L.L.C., SEADRILL AMERICAS, INC.,
and BP AMERICA PRODUCTION CO.

FILED:

 

 

DEPUTY CLERK

PLAINTIFF'S FIRST SET OF INTERROGATORIES
DIRECTED TO BP AMERICA PRODUCTION CO.

NOW INTO COURT, through undersigned counsel, comes Plaintiff, WILLIAM
HERRIN, who propounds the following Interrogatories upon Defendant, BP AMERICA
PRODUCTION CO., pursuant to Article 1457 of the La. Code of Civil Procedure, to be
answered within fifteen (15) days, under oath, by Defendant. Said Interrogatories are continuing
and are to be answered at any time when the information becomes known prior to trial if for any
reason they are not answered within fifteen (15) days (which period is specifically not waived).
INTERROGATORY NO. 1:

Please state the current or last known address, telephone number, and position held of
each and every individual, including but not limited to BP AMERICA PRODUCTION CO.
employees, working aboard the WEST VELA on or about May 26, 2021. SUBPOENAS WILL
BE ISSUED TQ THESE INDIVIDUALS AT THE ADDRESSES PROVIDED SO
LISTING DEFENDANT’S CORPORATE OFFICE WILL BE DEEMED ACCEPTANCE
OF SERVICE ON BEHALF OF THE INDIVIDUAL FOR SUBPOENA PURPOSES.
INTERROGATORY NO. 2:

Please state the complete names, last known employers, last known addresses, social
security number and last known telephone numbers for any and all persons from whom you have
taken a statement, written, recorded, or otherwise, relating to the incident in which Plaintiff was
injured on the WEST VELA on or about May 26, 2021. Please also provide the dates on which |

such statements were taken and the person by whom such statements were taken.

 

 
 

 

Case 2:22-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 12 of 23

INTERROGATORY NO. 3:

Please state the full name and address of the first person, BP AMERICA
PRODUCTION CO. employee or otherwise, who learned of plaintiff's. accident on or about
May 26, 202 1 and the time at which such person learned of his accident.

INTERROGATORY NO. 4:

Please state the full name and address of the first BP AMERICA PRODUCTION CO.
employee who learned of plaintiff's accident on or about May 26, 2021, and the time which they
learned of plaintiff's accident.

INTERROGATORY NO. 5:

Please state the full name and address of any and’all BP AMERICA PRODUCTION
CO. employees working with Plaintiff at the time of his accident on or about May 26, 2021. For | |
each such individual, state their job position and the task they were performing while working
with or in conjunction with Plaintiff at the time of the accident.

INTERROGATORY NO. 6:

Please state the full name of each and every witness whom you will call to testify at the
trial of this matter.
INTERROGATORY NO. 7:

Please state in full detail how you believe the accident occurred including providing the
names of all individuals who were involved in the accident, the tasks they were performing, and
whether their actions or inactions caused and/or contributed to the accident.
INTERROGATORY NO. 8: |

| If you contend Plaintiff was at fault at all in causing or contributing, to his accident or
injuries, please state in full detail the basis for such contention and list any and all documentary
evidence in support of your position, including specific references to safety or HSE manuals,
video tapes, or other training materials. |
INTERROGATORY NO. 9:

Please state the complete corporate name of the entity believed to be the owner of the |
WEST VELA, the vessel/structure to which plaintiff was assigned to work on or about May 26,

2021.

 

 
 

 

- Case 2:22-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 13 of 23

Respectfully Submitted,

TIMOTHY Raa (22677)

TAMMY D. HARRIS (29896)
MEGAN C. MISKO (29803)
JOSEPH B. MARINO, IIT (29966)
THE YOUNG FIRM ,
400 Poydras Street, Suite 2090
New Orleans, LA 70130
Telephone: (504) 680-4100
Facsimile: (504) 680-4101

PLEASE SERVE

BP AMERICA PRODUCTION CO.
Through Registered Agent

CT Corporation System

3867 Plaza Tower Drive

Baton Rouge, LA 70816

FILED
NOV 18 2021
isi Candace S. Porche |

DEPUTY CLERK OF
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Deputy Clerk of Count ~

 

 
 

 

 

Case 2:22-cv-00077-GGG-KWR ‘Document 1-1 Filed 01/13/22 Page 14 of 23

32%? JUDICIAL DISTRICT COURT FOR THE PARISH OF TERREBONNE

STATE OF LOUISIANA

no: /R3Ly DIVISION:
WILLIAM HERRIN

versus

TRI-STATE ENVIRONMENTAL, L.L.C., SEADRILL AMERICAS, INC.,
and BP AMERICA PRODUCTION CO.

FILED:

 

 

DEPUTY CLERK

PLAINTIFF’S FIRST SET OF REQUEST FOR PRODUCTION OF DOCUMENTS
DIRECTED TO DEFENDANT TOLUNAY WONG ENGINEERS, INC.

NOW INTO COURT, through undersigned counsel, comes Plaintiff, WILLIAM
HERRIN who propounds the following Request for Production of Documents to Defendant, BP
AMERICA PRODUCTION CO. pursuant to Article 1461 of the La. Code of Civil Procedure,
to be answered within fifteen (15) days, under oath, by Defendant. Said Requests for Production
of Documents are continuing and are to be answered at any time when the information becomes
known prior to trial if for any reason they are not answered within fifteen (Is) days (which period
is specifically not waived).

REQUEST NO. 1:

Please produce copies of any and all documents, correspondence, statements and written
reports, including but not limited to accident reports, eye-witness reports, supervisor reports, —
accident prevention reports, etc., pertaining to ANY injuries and/or accidents sustained by
WILLIAM HERRIN including but not limited to the accident occurring on or about May 26,
2021, and which forms the basis of this litigation.

REQUEST NO. 2:

Please produce complete copies of any and all tape recorded or written statements of
WILLIAM HERRIN or any other parties concerning or relating to the accident occurring on or
about May 26, 2021 on the WEST VELA in which Plaintiff was injured. If you object to the
production of statements other than that of plaintiff, please state from whom ‘statements have
been taken, the date they were taken, by whom the statement was taken, and the length of the

statement.

 

 
 

 

7 Case 2:22-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 15 of 23

REQUEST NO. 3:

Please produce color photographs of the accident site, from all angles, and of any and al]
“equipment involved in the accident, including but not limited to the drill rod which hit Plaintiff
on the WEST VELA.
REQUEST NO. 4:
Please produce complete copies of safety reports/records/weekly meeting records or any
| other documents covering or concerning safety meetirigs or safety procedures applicable to the
daily activity of the crew aboard the WEST VELA for the months of April, May, and June, 2021.
REQUEST NO. 5: . |
-Please produce complete copies of any and all medical reports, clinical tests or other
medical information pertaining to WILLIAM HERRIN which is in your possession. Such
‘material should include, but not be ‘limited to, any pre-employment medical reports, as well as.
any and all medical reports relating to the injuries sustained by WILLIAM HERRIN on or
about May 26, 2021, which material should specifically include any and all medic records or
other treatment received aboard the WEST VELA. |
_ REQUEST NO. 6:

Please produce copies of any and all written reports, surveillance evidence, or video tape
prepared or obtained as a result of any investigation of Plaintiff, either prior to oF subsequent to
the occurrence, concerning or related to his activities, background, and/or extent of injuries.

. REQUEST NO. 7: |

Please produce a complete copy of any and all safety manuals and/or other documents
governing or setting forth safety procedures or safety training applicable and provided to all BP
AMERICA PRODUCTION CO. employees.

REQUEST NO. 8: | .

Please produce complete copies of any and all tangible evidence whether document,
photograph, surveillance evidence, video tape, physical item of evidence, prior statement or
otherwise which will be used for impeachment or rebuttal of plaintiff or plaintiff's witnesses in

the trial of this matter.

- REQUEST NO. 9:

Please produce copies of any and all policies of liability insurance issued to BP

AMERICA PRODUCTION CO. and in effect on or about May 26, 2021, relating to the WEST

 

 
 

 

- ‘Case 2:22-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 16 of 23

VELA, including any policies which cover maritime and/or Jones Act claims, and all cover

sheets, jackets and endorsements to such policies. Such information should include, but not be

limited to, the amount of any deductible or self-insured retention.

REQUEST NO. 10:

Please produce complete copies of any and all written work orders and/or contracts

- entered into by BP AMERICA PRODUCTION | CO. and any other party relating to or

concerning the work being performed aboard the WEST VELA on or about May 26, 2021.

REQUEST NO. 11:

Please provide copies of any and all documents in your possession which bear the
signature of Plaintiff.
REQUEST NO. 12:

Please provide complete copies of any and all documents in your possession or control
which in any way indicate or relate to any prior injuries sustained by Plaintiff.
REQUEST NO. 13:

Please produce complete copies of any and all exhibits upon which you will rely at the
trial of this matter.
REQUEST NO. 14:

Please produce a complete copy of any and all job procedure forms, checklists, Job
Safety Analysis (JSAs), or other documents concerning or applicable to the job/task/procedure
being performed by Plaintiff at the time he was injured on or about May 26, 2021. If such form
was in any way modified or changed following this event, please produce a copy of the
documentation/form as it existed both before modification and after modification.
REQUEST NO. 15:

If you contend Plaintiff caused and/or contributed to his accident and/or injuries, please
produce complete copies of any and all documentary evidence to support your position.
REQUEST NO. 16:

Please produce a complete copy of any electronic communications (e-mails) in any way
relating to, discussing, addressing, referencing, or touching upon the accident which forms the
basis of this litigation. IF YOU CONTEND SUCH ELECTRONIC DOCUMENTATION DOES
NOT EXIST, STATE WHO YOU SPOKE TO IN ORDER TO MAKE SUCH A

DETERMINATION AND THEIR JOB TITLE. IF YOU CONTEND ELECTRONIC

 

 
 

 

*,+Case 2:22-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 17 of 23

COMMUNICATIONS EXIST BUT ARE PROTECTED FROM DISCOVERY, PLEASE
PROVIDE AN. APPROPRIATE PRIVILEGE LOG INCLUDING THE AUTHOR OF THE
WITHHELD DOCUMENT, THE DATE IT WAS GENERATED AND THE NATURE OF

THE COMMUNICATION.

Respectfully Submitted,

  
   

' TIMOTHY J. YOUNG (22677)
TAMMY D. HARRIS (29896)
MEGAN C. MISKO (29803)
JOSEPH B. MARINO, III (29966)
THE YOUNG FIRM
400 Poydras Street, Suite 2090

New Orleans, LA 70130

Telephone: (504) 680-4100

Facsimile: (504) 680-4101

PLEASE SERVE

BP AMERICA PRODUCTION CoO.
Through Registered Agent

CT Corporation System

3867 Plaza Tower Drive

Baton Rouge, LA 70816

FILED
NOV 18 2004
és! Candace S. Porche

« DEPUTY CLERK OF COURT
PARISH OF TERREBONNE, La

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DEC 06 2021

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Deputy Clerk of Court

 

 

 
 

 

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Case 2:22-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 18 of 23

Page 1 of 1

32% JUDICIAL DISTRICT COURT FOR THE PARISH OF TERREBONNE

STATE OF LOUISIANA

no: _1 Fa3lele DIVISION: ___

WILLIAM HERRIN
versus

TRLSTATE ENVIRONMENTAL, L.L.C., SEADRILL AMERICAS, INC.,
and BP AMERICA PRODUCTION CO.

FILED:

 

 

DEPUTY CLERK

REQUEST FOR NOTICE
PLEASE TAKE NOTICE that the undersigned counsel, attomey for plaintiff
WILLIAM HERRIN, do hereby request written notice of hearings (whether the merits
or otherwise), orders. judgments, and interlocutory decrees, and any and ali formal steps
taken by the parties herein, the Judge or any member of the Court, as provided in the
Louisiana Code of Civil Procedure, Article 1960, particularly, Articles 1572, 1913, and
1914, .

Respectfully Submitted,

TIMOTHY z YOUNG (22677)

TAMMY D. HARRIS (29896)
MEGAN €. MISK.O (29803)
JOSEPH B. MARINO, III (29966)
THE YOUNG FIRM

400 Poydras Street, Suite 2090
New Orleans, LA 70130
Telephone: (504) 680-4100
Facsimile: (504) 680-4101

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PARISH OF TERREBONNE, LA

 
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Case 2:22-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 19 of 23

 

 

 

A Resident of LAFOURCHE Parish

Page 1 of 1

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TO: TRISTATE ENVIRONMENTAL LLC
THROUGH REGISTERED AGENT,
SCOTT ROBICHAUX, FOR SERVICE OF PROCESS:
2737 HIGHWAY 308
RACELAND, LA 70394

YOU ARE HEREBY SUMMONED to comply with the demand of the Original Petition, Plaintiffs First Set of
Interrogatories and Request for Production of Dacuments Directed to Defendant Tri-State Environmental, LLC. , filed on
November 18, 2021, a true and faithful copy whereaf accompanies this citation, or to make art appearance by filing an answer or
other pleading thereto, in writing with the Clerk of Court at her office in the City of Houma, within fifteen (15) days afier the service
hereof,

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Your failure ta so comply will subject you to the penalty of having a default judgment rendered avainst you.

Witness my hand and official seal this Gth day of December, 2027.

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Theresa A. Robichaux, Clerk of Court

 

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: BY:

; Deputy Clerk of Court

: Requested By: Ms Megan C Miske i
: Anorney at Law ‘
; 400 Poydras 5t, Suite 2090 4
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A Resident of EAST BATON ROUGE Parish

TQ; SEADRILL AMERICAS INC

THROUGH REGISTERED AGENT,

CT CORPORATION SYSTEM, FOR SER VICE OF PROCESS:

3867 PLAZA TOWER DRIVE

BATON ROUGE, LA 70816

¥OU ARE HEREBY SUMMONED to comply with the demand of the Original Petition, Piaintifj?s First Set of

Interragaiories aint Request for Praduction af Decuments Directed to Defendant Seadril! Americas Inc. , filed on November 18,
2021, a true and faithful copy whereof accompantes this cation, oF to make an appearance by filing an answer or other pleading

thereto, in-writing with the Clerk of Court at her office in the City of Houma, within fifteen (15) days after the service hereof;
Your failure to so comply will subject you fo the penalty of having @ default judgment rendered against you,

Witness my hand and afficial seal this 6th day of. ‘December, 2021,

Theresa A, Robichaux, Clerk of Court

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: BY:

‘ Deputy Clerk of Court

: Requested By: Ms Megan € Miska

§ Attorney at Law

: 400 Poydras St, Suite 2090

‘ New Orleans, LA 70130

5 (304) 680-4100

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Case 2:22-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 21 of 23

 

  

 

TO, SEADRILL AMERICAS INC
THROUGH REGISTERED AGENT,
CT CORPORATION SYSTEM, FOR SERVICE OF PROCESS:
3867 PLAZA TOWER DRIVE
BATON ROUGE, LA 70816

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t A Resident of EAST BATON ROUGE Parish ‘
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YOU ARE HEREBY SUMMONED to comply with the demand of the Original Petition, Plaintiff's First Set of
Inrerragatories and Request for Production af Documents Directed to Defendant Seadrill Americas Inc. , filed on November 16,

2021, a true and faithful copy whereof accompantes this citation, or to moke an appearance by filing an answer or other pleading

thereto, in writing with the Clerk af Court at her office fn the City of Houma, within fifteen (15) days after the service hereaf:

ee PE

Your failure io s0 comply will subject you to the penalty of having a default judgment rendered aginst you.

Wimess my hand and official seal this 6th day of December, 2021.

Theresa A. Robichaux, Clerk af Court

BY: PA uw ptt

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: Deputy Clerk af Court ‘
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‘ Requested By: Ms Megan C Misko ‘
: Aitorney at Law :
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: New Orleans, LA 70130 thenamed through Hie: ‘
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BATON ROUGE, LA 70816

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YOU ARE HEREBY SUMMONED ta camply with the demand of the Original Petition, Plaintiff %: First Set of
Interragatories and Request for Production of Documents Directed to Defendant BP America Production Co. , filed on November

ae

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therelo, in writing with the Clerk of Court at her affice in the City of Houma, within fifteen (15) days after the service hereof;
Your failure to so comply will subject you ta the penalty of having a default judgment rendered against you.

Witness my hand and official seat this 6th day of December, 2024.

Theresa A. Robichaux, Clerk of Court

BY: Alwuw OWL

Deputy Clerk of Court

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Requested By: Ms Megan C Miske
Aitorney at Law
400 Poydras St, Sulte 2699

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Case 2:22-cv-00077-GGG-KWR Document 1-1 Filed 01/13/22 Page 23 of 23

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¥OU ARE HEREBY SUMMONED to comply with the demand of the Original Petition, Plaintiff's First Set of <%
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November 18, 2021, a true and faithful copy whereof accompanies this citation, or to make an appearance by filing an answer or
other pleading thereto, in writing with the Clerk of Court at her office in the City of Houma, within fifteen (15) days after the service
hereof:

Your failure to so comply will subject you to the penalty of having a default judgment rendered against you,

Witness my hand aed offieta! seal this 6th day af December, 2021.

Theresa A. Robichaux, Clerk af Court

BY: _AA www GUL,

Deputy Clerk af Court

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Requested By: Mis Megan C Misko
Attorney at Law

3 400 Poydras St., Suite 2090

. New Orleans, LA 70130

: (504) 680-4700

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[ LAFOURCHE SHERIFF'S RETURN

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Status: Domicilary |
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ROBICHALH |
Addeesy:2737 HIGHWAY 308, RACELAND, LA 70394

Served By: CHAMBERLAIN, KIMBERLY |
Due: $46.89 Invowe #; 21023587

Comments; DAUGHTER

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